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 4
 5   Attorney for Defendant
     WING CHOU CHAN
 6
 7
                         IN THE UNITED STATES DISTRICT COURT
 8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,       )      CR. NO. S-09-438 EJG
                                     )
11                  Plaintiff,       )      STIPULATION; [PROPOSED] ORDER
                                     )
12        v.                         )
                                     )      DATE: January 8, 2009
13   WING CHOU CHAN, WAYNE RONG ZHI  )      TIME: 10:00 a.m.
     FENG, and NGAI CHUNG HUNG,      )      COURT: Hon. Edward J. Garcia
14                                   )
                    Defendants.      )
15                                   )
     _______________________________ )
16                                   )
17        Defendant, WING CHOU CHAN, through Christopher Haydn-Myer,
18   Attorney At Law, defendant, WAYNE RONG ZHI FENG, through Dan Koukol,
19   Attorney At Law, defendant, NGAI CHUNG HUNG, through Joseph Wiseman,
20   Attorney at Law, and the United States of America, through Assistant
21   U.S. Attorney Heiko Coppola, agree as follows:
22        It is hereby stipulated that the status conference currently set
23   for January 8, 2010, be vacated and a new status conference be
24   scheduled on March 12, 2010 at 10:00 a.m.        Time had previously been
25   excluded by this Court on November 20, 2009 through and including
26   January 8, 2010 on the basis of counsel’s need to prepare and
27   complexity (Local Codes T-2 and T-4).
28        It is further stipulated and agreed between the parties that the
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 1   time under the Speedy Trial Act should be excluded from January 8, 2010
 2   to March 12, 2010, under Local Code T-4, Title 18, United States Code
 3   section 3161(h)(7)(B)(iv),to give the defendants time to further review
 4   the discovery and to adequately prepare.       The parties also stipulate
 5   and agree that the case is complex due to the nature of the prosecution
 6   and the number of defendants charged pursuant to Local Code T-2, Title
 7   18, United States Code section 3161(h)(7)(B)(ii).         Counsel has received
 8   over one thousand pages of discovery and counsel has been informed that
 9   there are “banker’s boxes” that are being scanned by the government,
10   and will be delivered to the defense on compact discs.
11        The parties also stipulate and agree that the ends of justice
12   served by granting this continuance outweigh the best interests of the
13   public and the defendant in a speedy trial.        18 U.S.C. § 3161(h)(7)(A).
14   Dated: January 6, 2010
                                            Respectfully submitted,
15
                                            /s/ Christopher Haydn-Myer
16                                          ________________________________
                                            CHRISTOPHER HAYDN-MYER
17                                          Attorney for Defendant
                                            WING CHOU CHAN
18   Dated: January 6, 2010
                                            Respectfully submitted,
19
                                            /s/ Christopher Haydn-Myer for
20                                          ________________________________
                                            DAN KOUKOL
21                                          Attorney for Defendant
                                            WAYNE RONG ZHI FENG
22   Dated: January 6, 2010
                                            Respectfully submitted,
23
                                            /s/ Christopher Haydn-Myer for
24                                          ________________________________
                                            JOSEPH WISEMAN
25                                          Attorney for Defendant
                                            NGAI CHUNG HUNG
26
27
28                                           2
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 1   DATED: January 6, 2008                   BENJAMIN B. WAGNER
                                              United States Attorney
 2
                                              /S/ Christopher Haydn-Myer for
 3                                            HEIKO COPPOLA
                                              Assistant U.S. Attorney
 4                                            Attorney for Plaintiff
 5
 6
                                      ORDER
 7
     FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that the status conference
 8
     currently set for January 8, 2010, be vacated and a new status
 9
     conference be scheduled on March 12, 2010 at 10:00 a.m., and that time
10
     is excluded under Local Code T-4, Title 18, United States Code section
11
     3161(h)(7)(B)(iv), to allow counsel reasonable time to review discovery
12
     and for effective preparation.       Time is also excluded under Local Code
13
     T-2, Title 18, United States Code section 3161(h)(7)(B)(ii) because the
14
     case is complex due to the number of defendants charged and the nature
15
     of the prosecution.    The Court also finds that the ends of justice
16
     served by granting this continuance outweigh the best interests of the
17
     public and the defendant in a speedy trial.        18 U.S.C. § 3161(h)(7)(A)
18
19
     DATED: January 6, 2010                   /s/ Edward J. Garcia_________
20                                            EDWARD J. GARCIA
                                              Senior U.S. District Judge
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28                                            3
